Filed 05/20/16                                   Case 15-14228                                             Doc 103


                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF CALIFORNIA
                                         CIVIL MINUTES


    Case Title :       Oscar Gutierrez                                   Case No : 15−14228 − B − 13
                                                                            Date : 05/20/2016
                                                                            Time : 09:30

    Matter :           [85] − Motion/Application to Confirm Chapter 13 Plan [GEG−1] Filed by Debtor Oscar
                       Gutierrez (ltrf)


    Judge :            Rene Lastreto II                       Courtroom Deputy : Jennifer Dauer
    Department :       B                                              Reporter : NOT RECORDED


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
    None



    HEARING was :




    The motion was granted.

    This motion to confirm or modify a chapter 13 plan was fully noticed in compliance with the Local Rules and
    there was no opposition. Accordingly, the respondent(s) default was entered and the motion was granted
    without oral argument for cause shown. The debtor shall submit a proposed confirmation order for approval
    to the chapter 13 trustee. The confirmation order shall include the docket control number of the motion and
    it shall reference the plan by the date it was filed.
